Case 6:16-cv-00173-RP Document 1055-1 Filed 07/01/22 Page 1 of 16




           EXHIBIT A
6/30/22, 10:03 AM                                     Case 6:16-cv-00173-RP Document
                                                                                  Brazil1055-1
                                                                                         & Dunn MailFiled  07/01/22
                                                                                                     - New Court Order Page 2 of 16

                                                                                                                                                                                            Chad Dunn <chad@brazilanddunn.com>



 New Court Order
 David West <David.West@unitedlex.com>                                                                                                                                                       Tue, Jun 28, 2022 at 1:56 PM
 To: Jim Dunnam <jimdunnam@dunnamlaw.com>, Danielle Hatchitt <dhatchitt@wshllp.com>
 Cc: Colleen Murphey <cmurphey@wshllp.com>, Jan Blair <JBlair@wshllp.com>, Vedran Camdzic <vedran.camdzic@unitedlex.com>, Lauren Dinner <Lauren.Dinner@unitedlex.com>, Eleeza Johnson
 <eleezajohnson@dunnamlaw.com>, Julie Springer <jspringer@wshllp.com>, Jamie McConnell <Jamie.McConnell@unitedlex.com>, Christopher Burton <christopher.burton@unitedlex.com>, Nicole Ratliff <nicole@dunnamlaw.com>,
 "chad@brazilanddunn.com" <chad@brazilanddunn.com>, Andrea Mehta <andreamehta@dunnamlaw.com>, "lgeisler@textrial.com" <lgeisler@textrial.com>, Jeff Brown <Jeff.Brown@unitedlex.com>, Geoff Weisbart
 <gweisbart@wshllp.com>, Mia Storm <MStorm@wshllp.com>, Sara Janes <SJanes@wshllp.com>, ULX_Baylor_Doe_et_al_v_Baylor <ULX_Baylor_Doe_et_al_v_Baylor@unitedlex.com>, "quesada@textrial.com"
 <quesada@textrial.com>, "smccaffity@textrial.com" <smccaffity@textrial.com>, Lisa Brown <lbrown@thompsonhorton.com>, Ryan Newman <rnewman@thompsonhorton.com>, Holly McIntush <hmcintush@thompsonhorton.com>


   Hi all,



   While performing our analysis, we identified the source data as shared by ULX to all parties on 3/9/2022 in the attached email. If the identification of these sources is incorrect please let us know and we can adjust the
   following metrics accordingly.



   Baylor:

             1. Documents not turned over to Plaintiffs by ULEX at all: 547,623
             2. Document turned over with redactions: 1,435



   Pepper Hamilton:

             1. Documents not turned over to Plaintiffs by ULEX at all: 1,363,806
             2. Document turned over with redactions: 930




                                 Production Numbers


                        Set                        Pepper Hamilton        Baylor


    Total Docs Received                            1,371,660             563,602


    Total Docs Produced                            7,854                 15,979


    Total Docs Produced with Redactions            930                   1,435




   Lastly, here is an up to date list of all documents produced by ULX to Plaintiffs.




                                                                                                                         Doc      Image      Native    Size                                  # of     Delivery
                              Volume                                 ProdBegBates               ProdEndBates                                                    Date Sent      Sent To                                Password
                                                                                                                        Count     Count      Count     (GB)                                 Copies    Method


    CLARK001                                                        CLARK0000001                CLARK0002439               986      2,439         25    1.11   04/16/2020     All Parties         1   Sharefile   M\^9a8("+"D-tHYT


https://mail.google.com/mail/u/0/?ui=2&ik=c446c59bf2&view=lg&permmsgid=msg-f:1736905979155228855                                                                                                                                     1/15
6/30/22, 10:03 AM                              Case 6:16-cv-00173-RP Document
                                                                           Brazil1055-1
                                                                                  & Dunn MailFiled  07/01/22
                                                                                              - New Court Order Page 3 of 16
    EISNER001                                              EISNER0000001         EISNER0005645      1,210    5,645       1   2.24   04/16/2020   All Parties   1   Sharefile   M\^9a8("+"D-tHYT


    SCOTT001                                               SCOTT0000001          SCOTT0001474        529     1,474       3   0.62   04/16/2020   All Parties   1   Sharefile   M\^9a8("+"D-tHYT


    SELLS001                                               SELLS0000001          SELLS0006796       1,331    6,796      20   2.83   04/16/2020   All Parties   1   Sharefile   M\^9a8("+"D-tHYT


    SMITH-CORTEZ001                                     SMITH-CORTEZ0000001   SMITH-CORTEZ0007176   1,399    7,176       9   2.86   04/16/2020   All Parties   1   Sharefile   M\^9a8("+"D-tHYT


    THOMPSON001                                          THOMPSON0000001       THOMPSON0005591       642     5,591       1   1.04   04/16/2020   All Parties   1   Sharefile   M\^9a8("+"D-tHYT


    WYNN001                                                WYNN0000001           WYNN0013536        2,527   13,536      26   4.95   04/16/2020   All Parties   1   Sharefile   M\^9a8("+"D-tHYT


    ULJD11VOL005                                            Exisiting Bates       Exisiting Bates    589     6,814     125   1.10   02/07/2022   All Parties   1   Sharefile   jT@_86a2Yj^SQ,M4


    ULJD11VOL009                                            Exisiting Bates       Exisiting Bates    695     4,875      59   2.27   02/22/2022   All Parties   1   Sharefile   QCbXp/!-SEdS5!yu


    ULJD11VOL009b                                           Exisiting Bates       Exisiting Bates    631     4,241      35   1.05   03/03/2022   All Parties   1   Sharefile   WebV7a2cC]"FMs2W


    Accounting Log 125 Total with FERPA Removed (29)        Exisiting Bates       Exisiting Bates     29          29     0   1.05   03/14/2022   All Parties   1   Sharefile   )e@CUF\}2/R:7scrJ[7&


    Accounting Log 125 Total with FERPA Removed (84)        Exisiting Bates       Exisiting Bates     84          84     0   1.05   03/14/2022   All Parties   1   Sharefile   )e@CUF\}2/R:7scrJ[7&


    Accounting Log 355 Total with FERPA Removed (2)         Exisiting Bates       Exisiting Bates      2          2      0   1.05   03/14/2022   All Parties   1   Sharefile   )e@CUF\}2/R:7scrJ[7&


    Accounting Log 355 Total with FERPA REmoved (81)        Exisiting Bates       Exisiting Bates     81          81     3   1.05   03/14/2022   All Parties   1   Sharefile   )e@CUF\}2/R:7scrJ[7&


    Accounting Log 355 Total with FERPA Removed (258)       Exisiting Bates       Exisiting Bates    258    258          8   1.05   03/14/2022   All Parties   1   Sharefile   )e@CUF\}2/R:7scrJ[7&


    JD11VOLPH2                                              Exisiting Bates       Exisiting Bates    313     6,756      43   1.67   03/24/2022   All Parties   1   Sharefile   tp%\2N;$Z`k(YK6x



                                                                                                                                                                               f4H4'UtYw'nM\A[Q
    JD11HCb                                                 ULPH5168243           ULPH5502742       3,240   92,215       0   2.03   03/28/2022   All Parties   1   Sharefile


    JD11VOLPHa                                              Exisiting Bates       Exisiting Bates    964     9,216      49   2.93   04/08/2022   All Parties   1   Sharefile   97h+sd'cH?B&eCDU


    JD11VOLPHb                                              Exisiting Bates       Exisiting Bates    795     8,266      33   1.49   04/08/2022   All Parties   1   Sharefile   yq%]]MXF4Jpkav+k


    JD11HCa                                                 Exisiting Bates       Exisiting Bates   5,357   46,791       0   1.98   04/08/2022   All Parties   1   Sharefile   psbQ87mArdA;jBu4


    FERPA Release                                           Exisiting Bates       Exisiting Bates      7          63     0   0.27   04/08/2022   All Parties   1   Sharefile   2~%`+#Hh{%f57uRs


    5/17/2021 Export                                        Exisiting Bates       Exisiting Bates    906     4,941       0          05/17/2022   All Parties   1   Sharefile


    JD11VOL011 Variance Production                          Exisiting Bates       Exisiting Bates   1,239   66,781     120          05/20/2022   All Parties   1   Sharefile   eRE/{6GEs'S!c[}R


    JD11VOL005 & 009 Additional Docs                        Exisiting Bates       Exisiting Bates    440     3,163      15   1.14   06/16/2022   All Parties   1   Sharefile   A2rB82wQZf=Wx!!%


    JD11VOL12                                               Exisiting Bates       Exisiting Bates    765     5,998      21   1.63   06/24/2022   All Parties   1   Sharefile   QCbXp/!-SEdS5!yu



https://mail.google.com/mail/u/0/?ui=2&ik=c446c59bf2&view=lg&permmsgid=msg-f:1736905979155228855                                                                                                      2/15
6/30/22, 10:03 AM                                      Case 6:16-cv-00173-RP Document
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                                                                                          & Dunn MailFiled  07/01/22
                                                                                                      - New Court Order Page 4 of 16
    JD11VOL12 - PH                                                      Exisiting Bates                  Exisiting Bates        572   4,395        18     0.97   06/24/2022     All Parties         1   Sharefile   QCbXp/!-SEdS5!yu




   Please let me know if this answers your questions or if you have anything further



   David West, RCA | Project Manager, Litigation Professional Services | UnitedLex | +1 (224) 221-8527




   Upcoming OOO: None




   From: David West <David.West@unitedlex.com>
   Sent: Monday, June 27, 2022 3:44 PM
   To: Jim Dunnam <jimdunnam@dunnamlaw.com>; Danielle Hatchitt <dhatchitt@wshllp.com>
   Cc: Colleen Murphey <cmurphey@WSHLLP.com>; Jan Blair <JBlair@WSHLLP.com>; Vedran Camdzic <vedran.camdzic@unitedlex.com>; Lauren Dinner <Lauren.Dinner@unitedlex.com>; Eleeza Johnson
   <eleezajohnson@dunnamlaw.com>; Julie Springer <jspringer@wshllp.com>; Jamie McConnell <Jamie.McConnell@unitedlex.com>; Christopher Burton <christopher.burton@unitedlex.com>; Nicole Ratliff
   <nicole@dunnamlaw.com>; chad@brazilanddunn.com; Andrea Mehta <andreamehta@dunnamlaw.com>; lgeisler@textrial.com; Jeff Brown <Jeff.Brown@unitedlex.com>; Geoff Weisbart <gweisbart@wshllp.com>; Mia Storm
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   <lbrown@thompsonhorton.com>; Ryan Newman <rnewman@thompsonhorton.com>; Holly McIntush <hmcintush@thompsonhorton.com>
   Subject: RE: New Court Order



   Hi Jim,



   We have received this and are currently working on it.



   In March we provided you with the below information regarding what we have in our possession. I am putting that information here again for ease of reference. Additionally, we have previously provided the information
   regarding what we have produced, but we are currently working on updating that information to include the most recent productions which have been made, as well as answers to your direct questions, and hope to have that
   information updated and provided to you by tomorrow.




   Please let me know if this will work or if you have any questions.



   Thanks.



   Hello, all.



   Following up with the contents of each workspace to confirm the representation of source data, as Lauren alluded to earlier in her emails. Please review the below and confirm the highlighted “source” data information is correct
   per your records. Once the source data information is confirmed, we will be able to provide Jim with the number of total Baylor and Pepper Hamilton documents received and produced within the requested time frames.




                    Date         Restore 1                        Documents        Source                   Data Transmission

https://mail.google.com/mail/u/0/?ui=2&ik=c446c59bf2&view=lg&permmsgid=msg-f:1736905979155228855                                                                                                                                         3/15
6/30/22, 10:03 AM                                Case 6:16-cv-00173-RP Document
                                                                             Brazil1055-1
                                                                                    & Dunn MailFiled  07/01/22
                                                                                                - New Court Order Page 5 of 16
                      Jul-19   ARM                           1,329,615   Pepper Hamilton   Hard Drive


                                                  Total:     1,329,615




                    Date       Restore 2                   Documents     Source            Data Transmission


                      Jul-19   ARM                                126    Pepper Hamilton   FTP


                                                  Total:          126




                    Date       Restore 3                   Documents     Source            Data Transmission


                      Jul-19   ARM                              2,892    Pepper Hamilton   FTP


                                                  Total:        2,892




                    Date       ULX Created Workspace       Documents     Source            Data Transmission


                      Jul-19   Native Data                     32,258    Pepper Hamilton   FTP


                     Aug-19    Baylor                          17,182    Baylor            FTP


                     Dec-19    Received by PwC                447,453    Baylor            Hard Drive


                     Mar-20    Received by PwC                 98,452    Baylor            Thumb Drive


                     Mar-22    New Baylor Data                    515    Baylor            FTP


                                                  Total:      595,860




   Notes:


https://mail.google.com/mail/u/0/?ui=2&ik=c446c59bf2&view=lg&permmsgid=msg-f:1736905979155228855                                 4/15
6/30/22, 10:03 AM                                      Case 6:16-cv-00173-RP Document
                                                                                   Brazil1055-1
                                                                                          & Dunn MailFiled  07/01/22
                                                                                                      - New Court Order Page 6 of 16
       1. Redaction Images. The images that Baylor provided for redaction application on 11/9/2021 and earlier this year are not included on this table. This is because those images were used by our review team to apply
          redactions to documents that already exist in the databases. Then those existing documents were produced with the redactions replicated. The images given were not actually uploaded into the database as new records.
       2. ULEX Migrated Data for Analysis. There are files that were copied across databases for the purpose of comparison analysis. Those files are not listed multiple times because they are represented in their original
          databases.
       3. Document Count Delta. There was a 402-document discrepancy noted in Restore 3 earlier in the thread by Eleeza in reference to the exhibit document shared in January 2020. We have audited the history of these
          records and believe these records were erroneously included in the initial report. These files are not listed on the above table as part of Restore 3 since the unique documents are accounted for in Restore 1.
                 Record Count Delta. There were only 2,892 documents received in the migration, as opposed to the 3,294 noted in the earlier charts. The 402-document delta (which brough the total to 3,294 documents reported
                 from 2,892) were documents in which ULX inadvertently loaded images – only images - into that database. The 402 docs were part of the documented 824 as “not validated” contained within the excel on the
                 “Relativity Restore 3” tab in the exhibit shared by Eleeza. They were ultimately included in the ~33k document variance review that Unitedlex performed in 2020.
                 Production of those Images. These images were intended to be overlaid into existing files within Restore 1 for the purpose of production to PwC. They were then produced in both Restore 1 and Restore 3 to PwC
                 in January 2020. In conclusion, the images were also put into and produced out of the Restore 1 database.




   David West, RCA | Project Manager, Litigation Professional Services | UnitedLex | +1 (224) 221-8527




   Upcoming OOO: None




   From: Jim Dunnam <jimdunnam@dunnamlaw.com>
   Sent: Monday, June 27, 2022 12:09 PM
   To: David West <David.West@unitedlex.com>; Danielle Hatchitt <dhatchitt@wshllp.com>
   Cc: Colleen Murphey <cmurphey@WSHLLP.com>; Jan Blair <JBlair@WSHLLP.com>; Vedran Camdzic <vedran.camdzic@unitedlex.com>; Lauren Dinner <Lauren.Dinner@unitedlex.com>; Eleeza Johnson
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   <nicole@dunnamlaw.com>; chad@brazilanddunn.com; Andrea Mehta <andreamehta@dunnamlaw.com>; lgeisler@textrial.com; Jeff Brown <Jeff.Brown@unitedlex.com>; Geoff Weisbart <gweisbart@wshllp.com>; Mia Storm
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   <lbrown@thompsonhorton.com>; Ryan Newman <rnewman@thompsonhorton.com>; Holly McIntush <hmcintush@thompsonhorton.com>
   Subject: New Court Order



   [EXTERNAL EMAIL]

   David



   I wanted to appraised ULEX of the attached order issued this morning from Judge Pitman.



   It was our understanding that ULEX was putting together a comprehensive listing of all documents that ULEX possesses that ULEX has not been turned over directly to Plaintiffs, and those that ULEX has turned over with
   redactions to Plaintiffs. This list is necessary to assure compliance with Judge Pitman’s order. Can you advise as to the status of the list, and how long it will take to provide an accurate list. This would include –



   For all documents that ULEX received from Pepper Hamilton

            1. Documents not turned over to Plaintiffs by ULEX at all
            2. Document turned over with redactions

   The above would include all attachments to those documents – the entire documents sets. This would include only what ULEX has and has not itself turned over. Whether or not Baylor claims to have turned them over is
   irrelevant for this listing.



   The same as the above for all documents ULEX received from Baylor.
https://mail.google.com/mail/u/0/?ui=2&ik=c446c59bf2&view=lg&permmsgid=msg-f:1736905979155228855                                                                                                                                   5/15
6/30/22, 10:03 AM                                                      Case 6:16-cv-00173-RP Document
                                                                                                   Brazil1055-1
                                                                                                          & Dunn MailFiled  07/01/22
                                                                                                                      - New Court Order Page 7 of 16

   Please advise. If you would like a phone call, we can set that up this week upon your availability.



   Jim Dunnam

   Dunnam & Dunnam LLP

   4125 W. Waco Drive

   Waco, TX 76710

   (254) 753-6437 Telephone

   (254) 753-7434 Facsimile

   jimdunnam@dunnamlaw.com




   _________________________________________________________________________________________________




   _________________________________________________________________________________________________


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   mail and destroy all forms of this communication (electronic or paper). Thank you.



   ---------- Forwarded message ----------
   From: Vedran Camdzic <vedran.camdzic@unitedlex.com>
   To: Lauren Dinner <Lauren.Dinner@unitedlex.com>, Danielle Hatchitt <dhatchitt@wshllp.com>, Jim Dunnam <jimdunnam@dunnamlaw.com>
   Cc: Eleeza Johnson <eleezajohnson@dunnamlaw.com>, Julie Springer <JSpringer@wshllp.com>, Dana Fischer <Dana.Fischer@unitedlex.com>, Colleen Murphey <cmurphey@wshllp.com>, David West
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   <chad@brazilanddunn.com>, Andrea Mehta <andreamehta@dunnamlaw.com>, "lgeisler@textrial.com" <lgeisler@textrial.com>, Jeff Brown <Jeff.Brown@unitedlex.com>, Geoff Weisbart <Gweisbart@wshllp.com>, Jan Blair
   <JBlair@wshllp.com>, Mia Storm <MStorm@wshllp.com>, "Sara E. Janes" <SJanes@wshllp.com>, ULX_Baylor_Doe_et_al_v_Baylor <ULX_Baylor_Doe_et_al_v_Baylor@unitedlex.com>, "quesada@textrial.com"
   <quesada@textrial.com>, "smccaffity@textrial.com" <smccaffity@textrial.com>, Lisa Brown <lbrown@thompsonhorton.com>, Ryan Newman <rnewman@thompsonhorton.com>, Holly McIntush
   <hmcintush@thompsonhorton.com>
   Bcc:


https://mail.google.com/mail/u/0/?ui=2&ik=c446c59bf2&view=lg&permmsgid=msg-f:1736905979155228855                                                                                                                                                                                                                            6/15
6/30/22, 10:03 AM                                    Case 6:16-cv-00173-RP Document
                                                                                 Brazil1055-1
                                                                                        & Dunn MailFiled  07/01/22
                                                                                                    - New Court Order Page 8 of 16
   Date: Wed, 9 Mar 2022 22:36:34 +0000
   Subject: RE: Reporting Request Discussion | 15511 Baylor

   Hello, all.



   Following up with the contents of each workspace to confirm the representation of source data, as Lauren alluded to earlier in her emails. Please review the below and confirm the highlighted “source” data information is correct
   per your records. Once the source data information is confirmed, we will be able to provide Jim with the number of total Baylor and Pepper Hamilton documents received and produced within the requested time frames.




                    Date       Restore 1                        Documents       Source                Data Transmission


                      Jul-19   ARM                                 1,329,615    Pepper Hamilton       Hard Drive


                                                       Total:      1,329,615




                    Date       Restore 2                        Documents       Source                Data Transmission


                      Jul-19   ARM                                       126    Pepper Hamilton       FTP


                                                       Total:            126




                    Date       Restore 3                        Documents       Source                Data Transmission


                      Jul-19   ARM                                     2,892    Pepper Hamilton       FTP


                                                       Total:          2,892




                    Date       ULX Created Workspace            Documents       Source                Data Transmission


                      Jul-19   Native Data                            32,258    Pepper Hamilton       FTP


                     Aug-19    Baylor                                 17,182    Baylor                FTP


                     Dec-19    Received by PwC                       447,453    Baylor                Hard Drive


                     Mar-20    Received by PwC                        98,452    Baylor                Thumb Drive


https://mail.google.com/mail/u/0/?ui=2&ik=c446c59bf2&view=lg&permmsgid=msg-f:1736905979155228855                                                                                                                                         7/15
6/30/22, 10:03 AM                                       Case 6:16-cv-00173-RP Document
                                                                                    Brazil1055-1
                                                                                           & Dunn MailFiled  07/01/22
                                                                                                       - New Court Order Page 9 of 16
                       Mar-22    New Baylor Data                              515    Baylor             FTP


                                                          Total:         595,860




   Notes:

       1. Redaction Images. The images that Baylor provided for redaction application on 11/9/2021 and earlier this year are not included on this table. This is because those images were used by our review team to apply
          redactions to documents that already exist in the databases. Then those existing documents were produced with the redactions replicated. The images given were not actually uploaded into the database as new records.
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                 from 2,892) were documents in which ULX inadvertently loaded images – only images - into that database. The 402 docs were part of the documented 824 as “not validated” contained within the excel on the
                 “Relativity Restore 3” tab in the exhibit shared by Eleeza. They were ultimately included in the ~33k document variance review that Unitedlex performed in 2020.
                 Production of those Images. These images were intended to be overlaid into existing files within Restore 1 for the purpose of production to PwC. They were then produced in both Restore 1 and Restore 3 to PwC
                 in January 2020. In conclusion, the images were also put into and produced out of the Restore 1 database.



   Please let us know if any questions. If you would like to get on the phone to discuss please provide availability for tomorrow and we would be happy to schedule.



   Thank you,



   Vedran Camdzic | Team Lead, Litigation Professional Services | UnitedLex | +1.470.273.2008




   From: Lauren Dinner <Lauren.Dinner@unitedlex.com>
   Sent: Monday, March 7, 2022 7:15 PM
   To: Danielle Hatchitt <dhatchitt@WSHLLP.com>; Jim Dunnam <jimdunnam@dunnamlaw.com>
   Cc: Vedran Camdzic <vedran.camdzic@unitedlex.com>; Eleeza Johnson <eleezajohnson@dunnamlaw.com>; Julie Springer <JSpringer@WSHLLP.com>; Dana Fischer <Dana.Fischer@unitedlex.com>; Colleen Murphey
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   chad@brazilanddunn.com; Andrea Mehta <andreamehta@dunnamlaw.com>; lgeisler@textrial.com; Jeff Brown <Jeff.Brown@unitedlex.com>; Geoff Weisbart <Gweisbart@WSHLLP.com>; Jan Blair <JBlair@WSHLLP.com>; Mia
   Storm <MStorm@WSHLLP.com>; Sara E. Janes <SJanes@WSHLLP.com>; ULX_Baylor_Doe_et_al_v_Baylor <ULX_Baylor_Doe_et_al_v_Baylor@unitedlex.com>; quesada@textrial.com; smccaffity@textrial.com; Lisa Brown
   <lbrown@thompsonhorton.com>; Ryan Newman <rnewman@thompsonhorton.com>; Holly McIntush <hmcintush@thompsonhorton.com>
   Subject: RE: Reporting Request Discussion | 15511 Baylor



   Danielle – thank you for the clarification. The team is going to follow up with the chart of all data received for ease of reference and confirmation, and then Jim, we will be able to provide you the requested counts.



   Lauren Dinner | Director, Litigation Professional Services | UnitedLex | +1.973.632.1636




   From: Danielle Hatchitt <dhatchitt@WSHLLP.com>
   Sent: Monday, March 7, 2022 7:14 PM
   To: Lauren Dinner <Lauren.Dinner@unitedlex.com>; Jim Dunnam <jimdunnam@dunnamlaw.com>

https://mail.google.com/mail/u/0/?ui=2&ik=c446c59bf2&view=lg&permmsgid=msg-f:1736905979155228855                                                                                                                                   8/15
6/30/22, 10:03 AM                                     Case 6:16-cv-00173-RP Document 1055-1
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                                                                                         & Dunn Mail - New 07/01/22
                                                                                                           Court Order Page 10 of 16
   Cc: Vedran Camdzic <vedran.camdzic@unitedlex.com>; Eleeza Johnson <eleezajohnson@dunnamlaw.com>; Julie Springer <JSpringer@WSHLLP.com>; Dana Fischer <Dana.Fischer@unitedlex.com>; Colleen Murphey
   <cmurphey@WSHLLP.com>; David West <David.West@unitedlex.com>; Jamie McConnell <Jamie.McConnell@unitedlex.com>; Christopher Burton <christopher.burton@unitedlex.com>; Nicole Ratliff <nicole@dunnamlaw.com>;
   chad@brazilanddunn.com; Andrea Mehta <andreamehta@dunnamlaw.com>; lgeisler@textrial.com; Jeff Brown <Jeff.Brown@unitedlex.com>; Geoff Weisbart <Gweisbart@WSHLLP.com>; Jan Blair <JBlair@WSHLLP.com>; Mia
   Storm <MStorm@WSHLLP.com>; Sara E. Janes <SJanes@WSHLLP.com>; ULX_Baylor_Doe_et_al_v_Baylor <ULX_Baylor_Doe_et_al_v_Baylor@unitedlex.com>; quesada@textrial.com; smccaffity@textrial.com; Lisa Brown
   <lbrown@thompsonhorton.com>; Ryan Newman <rnewman@thompsonhorton.com>; Holly McIntush <hmcintush@thompsonhorton.com>
   Subject: RE: Reporting Request Discussion | 15511 Baylor



   [EXTERNAL EMAIL]

   Hi Lauren, see my responses in red below. Just to make sure we are on the same page, both Thompson Horton and Weisbart Springer Hayes are litigation counsel for Baylor.



   Thanks,

   Dani


   From: Lauren Dinner <Lauren.Dinner@unitedlex.com>
   Sent: Monday, March 7, 2022 5:07 PM
   To: Jim Dunnam <jimdunnam@dunnamlaw.com>; Danielle Hatchitt <dhatchitt@WSHLLP.com>
   Cc: Vedran Camdzic <vedran.camdzic@unitedlex.com>; Eleeza Johnson <eleezajohnson@dunnamlaw.com>; Julie Springer <JSpringer@WSHLLP.com>; Dana Fischer <Dana.Fischer@unitedlex.com>; Colleen Murphey
   <cmurphey@WSHLLP.com>; David West <David.West@unitedlex.com>; Jamie McConnell <Jamie.McConnell@unitedlex.com>; Christopher Burton <christopher.burton@unitedlex.com>; Nicole Ratliff <nicole@dunnamlaw.com>;
   chad@brazilanddunn.com; Andrea Mehta <andreamehta@dunnamlaw.com>; lgeisler@textrial.com; Jeff Brown <Jeff.Brown@unitedlex.com>; Geoff Weisbart <Gweisbart@WSHLLP.com>; Jan Blair <JBlair@WSHLLP.com>; Mia
   Storm <MStorm@WSHLLP.com>; Sara E. Janes <SJanes@WSHLLP.com>; ULX_Baylor_Doe_et_al_v_Baylor <ULX_Baylor_Doe_et_al_v_Baylor@unitedlex.com>; quesada@textrial.com; smccaffity@textrial.com; Lisa Brown
   <lbrown@thompsonhorton.com>; Ryan Newman <rnewman@thompsonhorton.com>; Holly McIntush <hmcintush@thompsonhorton.com>
   Subject: RE: Reporting Request Discussion | 15511 Baylor



   Danielle & Jim



   Danielle – thank you for the additional information regarding identification of the parties, I think this helpful in gaining an understanding of the disposition of the parties in this matter and we are working sending a chart for source
   identification. Please see revised identification of “parties” and “affiliates”.



   Parties and Affiliates:



       1. Baylor Data

                a. Sent by PwC
                b. Sent by Thompson Horton
                c. Sent by Weisbart Springer Hayes



       2. Pepper Hamilton

                a. Sent the original Hard Drive
                b. Thumb Drive
                c. CD
                d. FTP Received 07/09/2019 (was this sent by Pepper Hamilton)? Yes. We believe that is correct.



   Jim – we are not asking Baylor what they sent, rather we are trying to understand the source of the data sets that we received. The UnitedLex team is going to follow up with a chart of all the data received to date and will request
   that the parties assist in identifying the source. Jim the purpose of confirming this information is so we can provide you the counts you are looking for (i.e., counts of produced documents as compared to initial data collections
   received). Going back through the UnitedLex’s records and call notes, we just need confirmation that the origin of the data sets is accurate. If you want to discuss this approach in further detail, let’s schedule a call to discuss.



   Thank you,


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                                                                                                               Court Order Page 11 of 16
   Lauren




   Lauren Dinner | Director, Litigation Professional Services | UnitedLex | +1.973.632.1636




   From: Jim Dunnam <jimdunnam@dunnamlaw.com>
   Sent: Monday, March 7, 2022 4:25 PM
   To: Danielle Hatchitt <dhatchitt@WSHLLP.com>; Lauren Dinner <Lauren.Dinner@unitedlex.com>
   Cc: Vedran Camdzic <vedran.camdzic@unitedlex.com>; Eleeza Johnson <eleezajohnson@dunnamlaw.com>; Julie Springer <JSpringer@WSHLLP.com>; Dana Fischer <Dana.Fischer@unitedlex.com>; Colleen Murphey
   <cmurphey@WSHLLP.com>; David West <David.West@unitedlex.com>; Jamie McConnell <Jamie.McConnell@unitedlex.com>; Christopher Burton <christopher.burton@unitedlex.com>; Nicole Ratliff <nicole@dunnamlaw.com>;
   chad@brazilanddunn.com; Andrea Mehta <andreamehta@dunnamlaw.com>; lgeisler@textrial.com; Jeff Brown <Jeff.Brown@unitedlex.com>; Geoff Weisbart <Gweisbart@WSHLLP.com>; Jan Blair <JBlair@WSHLLP.com>; Mia
   Storm <MStorm@WSHLLP.com>; Sara E. Janes <SJanes@WSHLLP.com>; ULX_Baylor_Doe_et_al_v_Baylor <ULX_Baylor_Doe_et_al_v_Baylor@unitedlex.com>; quesada@textrial.com; smccaffity@textrial.com; Lisa Brown
   <lbrown@thompsonhorton.com>; Ryan Newman <rnewman@thompsonhorton.com>; Holly McIntush <hmcintush@thompsonhorton.com>
   Subject: RE: Reporting Request Discussion | 15511 Baylor



   [EXTERNAL EMAIL]

   Lauren



   I have real concerns if this is just going to be where Baylor tells you what happened and what you did. I want to be very clear about our request. If we want to ask Baylor what they think, we will ask them. We are not asking what
   Baylor is telling you Baylor did or what Baylor tells you that you did. We are asking what UnitedLex has actually done according to UnitedLex’s own records independent of whatever Baylor may or may not think. There needs to
   be no question about that.



   Jim Dunnam

   Dunnam & Dunnam LLP

   4125 W. Waco Drive

   Waco, TX 76710

   (254) 753-6437 Telephone

   (254) 753-7434 Facsimile

   jimdunnam@dunnamlaw.com




   _________________________________________________________________________________________________




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   _________________________________________________________________________________________________


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   From: Danielle Hatchitt <dhatchitt@WSHLLP.com>
   Sent: Monday, March 7, 2022 3:21 PM
   To: Lauren Dinner <Lauren.Dinner@unitedlex.com>
   Cc: Vedran Camdzic <vedran.camdzic@unitedlex.com>; Danielle Hatchitt <dhatchitt@WSHLLP.com>; Jim Dunnam <jimdunnam@dunnamlaw.com>; Eleeza Johnson <eleezajohnson@dunnamlaw.com>; Julie Springer
   <JSpringer@WSHLLP.com>; Dana Fischer <Dana.Fischer@unitedlex.com>; Colleen Murphey <cmurphey@WSHLLP.com>; David West <David.West@unitedlex.com>; Jamie McConnell <Jamie.McConnell@unitedlex.com>;
   Christopher Burton <christopher.burton@unitedlex.com>; Nicole Ratliff <nicole@dunnamlaw.com>; chad@brazilanddunn.com; Andrea Mehta <andreamehta@dunnamlaw.com>; lgeisler@textrial.com; Jeff Brown
   <Jeff.Brown@unitedlex.com>; Geoff Weisbart <Gweisbart@WSHLLP.com>; Jan Blair <JBlair@WSHLLP.com>; Mia Storm <MStorm@WSHLLP.com>; Sara E. Janes <SJanes@WSHLLP.com>; ULX_Baylor_Doe_et_al_v_Baylor
   <ULX_Baylor_Doe_et_al_v_Baylor@unitedlex.com>; quesada@textrial.com; smccaffity@textrial.com; Lisa Brown <lbrown@thompsonhorton.com>; Ryan Newman <rnewman@thompsonhorton.com>; Holly McIntush
   <hmcintush@thompsonhorton.com>
   Subject: RE: Reporting Request Discussion | 15511 Baylor



   Hi Lauren,


   Please see our comments and corrections to your email below. One overall issue is that I believe there is a misunderstanding about PWC’s and Ryan
   Newman’s (who is with Thompson Horton) relationship to Pepper Hamilton. Ryan Newman and her firm, Thompson Horton, represent Baylor. They do not
   represent Pepper Hamilton. Likewise, PWC provided documents to United Lex on behalf of Baylor – not Pepper Hamilton. So, this misunderstanding needs to
   be corrected throughout the information in your email below. I have highlighted these issues in yellow.


   Additionally, I think your informational is missing several sets of data that were provided by Baylor to United Lex in 2021 and 2022. Our records reflect the
   following:


            11/09/2021                            Baylor provided VOL005 and VOL009 Images and joint instructions to United Lex for production to Plaintiffs


            01/10/2022                            United Lex email identifying issue with production of attachments from VOL005 and VOL009


            01/20/2022                            Additional Control numbers provided to United Lex to reflect additional
                                                documents for United Lex to produce (identified as a result of review of
                                                attachments) but otherwise Baylor does not agree to release attachments
                                                Plaintiffs do not agree that attachments will not be produced

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          02/07/2022                  United Lex produced VOL005 to the parties (Plaintiffs and Baylor)


          02/15/2022         Per Order 1026, Ryan Newman (with Baylor) emailed United Lex 3 excel charts with instructions to release 454 documents that
          correspond to provided accounting logs


          02/22/2022                  United Lex produced first part of VOL009(a) to the parties (Plaintiffs and Baylor)


          03/01/2022                  Baylor provided VOL006-8, 10-20 spreadsheets, images and
                                     instructions to United Lex to produce to plaintiffs


          03/03/2022                  United Lex produced second part of VOL009(b) to the parties (Plaintiffs and Baylor)



   Thanks,
   Dani

   From: Lauren Dinner <Lauren.Dinner@unitedlex.com>
   Sent: Friday, March 4, 2022 1:33 PM
   To: Vedran Camdzic <vedran.camdzic@unitedlex.com>; Danielle Hatchitt <dhatchitt@WSHLLP.com>; Jim Dunnam <jimdunnam@dunnamlaw.com>; Eleeza Johnson <eleezajohnson@dunnamlaw.com>; Julie Springer
   <JSpringer@WSHLLP.com>; Dana Fischer <Dana.Fischer@unitedlex.com>; Colleen Murphey <cmurphey@WSHLLP.com>; David West <David.West@unitedlex.com>; Jamie McConnell <Jamie.McConnell@unitedlex.com>;
   Christopher Burton <christopher.burton@unitedlex.com>; Nicole Ratliff <nicole@dunnamlaw.com>; chad@brazilanddunn.com; Andrea Mehta <andreamehta@dunnamlaw.com>; lgeisler@textrial.com; Jeff Brown
   <Jeff.Brown@unitedlex.com>; Geoff Weisbart <Gweisbart@WSHLLP.com>; Jan Blair <JBlair@WSHLLP.com>; Mia Storm <MStorm@WSHLLP.com>; Sara E. Janes <SJanes@WSHLLP.com>; ULX_Baylor_Doe_et_al_v_Baylor
   <ULX_Baylor_Doe_et_al_v_Baylor@unitedlex.com>; quesada@textrial.com; smccaffity@textrial.com; Lisa Brown <lbrown@thompsonhorton.com>; Ryan Newman <rnewman@thompsonhorton.com>; Holly McIntush
   <hmcintush@thompsonhorton.com>
   Subject: RE: Reporting Request Discussion | 15511 Baylor



   Thank you all for your time on the call today. Please see below notes and provide additional information and/or revisions if needed. If it is helpful, we can jump back on a call this afternoon. Please note items in red for your
   feedback.



   Our team has spent the time since the call this morning, going back through our records to ensure that the information provided is accurate and that all parties are under the same understanding. UnitedLex needed to confirm the
   data sources, so that we would be able to provide the produced document count of those data sources (i.e., data received from Baylor vs data received from PwC on behalf of Pepper Hamilton). Please review and upon
   confirmation, UnitedLex will be able to provide the production counts by source data.



   Participants:




           Dunammlaw                               Baylor (WSHLLP)                         Thompson Horton (PWC)                   UnitedLex


           Jim Dunnam                              Danielle Hatchitt                       Ryan Newman                             Vedran Camdzic

https://mail.google.com/mail/u/0/?ui=2&ik=c446c59bf2&view=lg&permmsgid=msg-f:1736905979155228855                                                                                                                                         12/15
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           Eleeza Johnson                                                                                                        Lauren Dinner


                                                                                                                                 Dana Fischer


                                                                                                                                 David West


                                                                                                                                 Jamie McConnell




   Background:



       1. Litigation commenced in 2016
       2. UnitedLex was brought on or about July 2019.
       3. Parties (please let us know if there are other parties that should be included and or represented by other parties).

              a. PWC on behalf of Pepper Hamilton
              b. Baylor
              c. UnitedLex
              d. Plaintiffs



       4. Restore ARM Files received July 2019 by Unitedlex from PWC on behalf of Pepper Hamilton.

              a. Restore 1 :: 1,329,615 documents
              b. Restore 2 :: 126 documents
              c. Restore 3 :: 2,892 documents.



       5. Workspace: Processed

              a. Document Sets Received from Baylor (116,149 documents). (Danielle please confirm whether there are additional files that are sourced to Baylor).

                                                       i.   Baylor Provided Documents were loaded (12/12 and 12/13 of 2019) (17,182 documents)

                                                  ii. Data Set. Sent by Ryan on behalf of Baylor 02/2020 (98,452 documents) These were email accounts of alleged assailants and this production to United Lex was
                            unrelated to the comparison project.

                                                    iii.    Data Set. Received 02/18/2022 (515 documents)



       6. Pepper Hamilton. Per the call today, it was confirmed that the three Relativity Restore workspaces were received from Pepper Hamilton. The Pepper Hamilton data was then compared against a data set received from
          PWC to identify where there was “no match” between those two data sets. That resulted in the list of the 33,377 documents that make up the United Lex Accounting Log – ULX Comparison Disposition 09.22.2020
          (re-attached here for ease of reference)



       7. Prior Export Request: on the call Ryan Newman forwarded an email from 05/11/2021 providing a list of 906 documents that instructed United Lex to provide to Plaintiffs’ counsel (email attached here for ease of
          reference).

              a. [NOTE: This was subsequently completed and sent by UnitedLex to ALL PARTIES on 05/19/2021]



       8. Dunammlaw is requesting information associated with the documents produced to Plaintiffs as of February 4, 2022 and then as of March 4, 2022.



              a. Summary of what was received from Pepper Hamilton and what was produced to Plaintiffs



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                                                                                                        Court Order Page 15 of 16
               b. Summary of what was received from Baylor and was produced to Plaintiffs



                                                    i.   Unitedlex Productions. How many documents /pages produced to Plaintiff from Unitedlex.



                                                   ii.   Unitedlex Accounting Log. Cross reference from the United Lex Account Log as to which categories the documents were produced from the various buckets listed below:

                            1. No Comparison File Provided
                            2. Substantive Match
                            3. Technical
                            4. Variance




         9. Documents produced in 2022 by UnitedLex. The UnitedLex team will follow up with notes regarding additional Productions/Exports completed by UnitedLex (prior to 2022), to the extent there are any.




                    Production Volume      Documents      Pages      Date


                    ULJD11 VOL005                  589       6,814    2/7/2022


                    ULJD09a VOL005                 695       4,875   2/22/2022


                    ULJD09b VOL005                 631       4,241    3/3/2022


                                                 1,915     15,930




   Consolidating the requested format of the above-requested information received by Jim Dunnam


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   [Message clipped] View entire message

    7 attachments — Download all attachments View all images
                                           image001.png
                                           2K View Download



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6/30/22, 10:03 AM                             Case 6:16-cv-00173-RP Document 1055-1
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